                           Case 4:18-cr-00374-BSM Document 36 Filed 07/15/19 Page 1 of 8
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                                                                                                                          FILED
                                                                                                                    U S DISTRICT COURT
                       Sheet I                                                                                  EASTERN DISTRICT ARKANSAS


                                          UNITED STATES DISTRICT COURT
                                                                                                             JAMES
                                                              Eastern District of Arkansas
                                                                                                         Sy:-4::::r-A.,C::::.=::!t=~;;-;;;,;;;;;;
                                                                           )
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                                                                           )
                         JEREMY WADE                                              Case Number: 4:18CR00374-001 BSM
                                                                           )
                                                                           )      USM Number: #32098-009
                                                                           )
                                                                           )       William 0. James, Jr. and Bobby R. Digby II
                                                                           )      Defendant's Attorney
THE DEFENDANT:
liZI pleaded guilty to count(s)         1 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through           __8_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                               D is        Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in econorruc circumstances.

                                                                            7/10/2019
                                                                           Date of Imposition of Judgment




                                                                           Signature of Judge




                                                                            Brian S. Miller, United States District Judge
                                                                           Name and Title of Judge




                                                                           Date
                                                                                   ; - ,s--'-'l
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AO 245B (Rev. 02/18) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment - Page   __2__ of   8
 DEFENDANT: JEREMY WADE
 CASE NUMBER: 4:18CR00374-001 BSM

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  135 months.




     [i1 The court makes the following recommendations to the Bureau of Prisons:

  It is recommended that the defendant receive a psychosexual evaluation and participate in sex offender counseling or
  treatment as recommended, the Intensive Sexual Offender Treatment Program, and educational and vocational programs
  during incarceration.

     liZ! The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D at     ----------
                                                  D a.m.       D p.m.       on

            D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                      to

 at - - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                  UNITED ST ATES MARSHAL



                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL
                          Case 4:18-cr-00374-BSM Document 36 Filed 07/15/19 Page 3 of 8
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                       Judgment---Page _ _ _ of
DEFENDANT: JEREMY WADE
CASE NUMBER: 4:18CR00374-001 BSM
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 10 years with consideration of reduction after 5 years.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 2090 I, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                        Case 4:18-cr-00374-BSM Document 36 Filed 07/15/19 Page 4 of 8
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3A - Supervised Release
                                                                                                                 4__ of _ _ _8___
                                                                                               Judgment-Page _ _ _
DEFENDANT: JEREMY WADE
CASE NUMBER: 4:18CR00374-001 BSM

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: W\Vw.uscourts.gov.


Defendant's Signature                                                                                     Date
                       Case 4:18-cr-00374-BSM Document 36 Filed 07/15/19 Page 5 of 8

AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3B - Supervised Release
                                                                                            Judgment-Page   -=5- of         8
DEFENDANT: JEREMY WADE
CASE NUMBER: 4:18CR00374-001 BSM

                                    ADDITIONAL SUPERVISED RELEASE TERMS
14. Defendant must participate in mental health treatment program under the guidance and supervision of the probation
office. The defendant will pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40
per month, based on ability to pay as determined by the probation office. In the event the defendant is financially unable to
pay for the cost of the treatment, the co-pay requirement will be waived.

15. Defendant must participate in a substance abuse treatment program under the guidance and supervision of the
probation office, which may include drug and alcohol testing, out-patient counseling, and residential treatment. Further,
defendant must abstain from the use of alcohol during treatment. The defendant will pay for the cost of treatment at the
rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
probation office. In the event the defendant is financially unable to pay for the cost of the treatment, the co-pay
requirement will be waived.

16. Defendant must participate in sex offender treatment under the guidance and supervision of the probation office and
abide by the rules, requirements, and conditions of the treatment program, including submitting to polygraph testing to aid
in the treatment and supervision process. You must pay for the cost of treatment, including polygraph sessions, at the rate
of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the probation
office. In the event you are financially unable to pay for the cost of treatment, the co•pay requirement will be waived.

17. Defendant must not view or possess any "visual depiction" (as defined in 18 U.S.C. § 2256) including any photograph,
film, video, picture, or computer or computer-generated image or picture, whether made or produced by electronic,
mechanical, or other means, of "sexually explicit conduct" (as defined in 18 U.S.C. § 2256), or any other material that
would compromise his sex offense-specific treatment.

 18. Defendant must not enter adult bookstores, strip clubs, or adult sex-themed entertainment businesses, or any
 establishments where such material or entertainment is available.

 19. Defendant must not access the Internet except for reasons approved in advance by the probation officer.

 20. Defendant must allow the probation officer to install computer monitoring software on any computer (as defined in 18
 U.S.C. § 1030(e)(1)) he uses.

 21. Defendant must allow the probation officer to conduct initial and periodic unannounced searches of any computers (as
 defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring. These searches will be conducted to determine
 whether the computer contains any prohibited data prior to installation of the monitoring software, whether the monitoring
 software is functioning effectively after its installation, and whether there have been attempts to circumvent the monitoring
 software after its installation. The defendant must warn any other people who use these computers that the computers
 may be subject to searches pursuant to this condition.

 22. Defendant must not participate in online gaming. Defendant must not utilize or maintain any memberships or accounts
 of any social networking website or websites that allow minor children membership, a profile, an account, or webpage
 without approval of the probation office. This includes websites that explicitly prohibit access or use by sex offenders.

 23. Defendant must submit his person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
 1030(e)(1 )), other electronic communications or data storage devices or media, or office, to a search conducted by a
 United States probation officer. Failure to submit to a search may be grounds for revocation of release. Defendant must
 warn other occupants that the premises may be subject to searches pursuant to this condition.

 24. The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
 violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must
 be conducted at a reasonable time and in a reasonable manner.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3C - Supervised Release
                                                                                         Judgment-Page   -~6- of        8
DEFENDANT: JEREMY WADE
CASE NUMBER: 4:18CR00374-001 BSM

                         ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

25. The probation office will provide state officials with all information required under any sexual predator and sexual
offender notification and registration statutes and may direct the defendant to report to these agencies personally for
required additional processing, such as an interview and assessment, photographing, fingerprinting, polygraph testing, and
DNA collection.

 26. Defendant must not use any sexually stimulating drug unless specifically prescribed by a doctor who has been notified
 of his sex offender status. Defendant must allow the probation office to verify such notification.

27. Defendant must not have direct contact with any child he knows or reasonably should know to be under the age of 18
without the permission of the probation officer. If the defendant has any direct contact with any child he knows or
reasonably should know to be under the age of 18 without the permission of the probation officer, the defendant must
report this contact to the probation officer within 24 hours. Direct contact includes written communication, in-person
communication, or physical contact. Direct contact does not include incidental contact during ordinary daily activities in
public places.

 28. Defendant must not go to, or remain at, any place where he knows children under the age of 18 are likely to be,
 including parks, schools, playgrounds, and childcare facilities.
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AO 245B (Rev. 02/18)                   Judgment in a Criminal Case
                                       Sheet 5 - Criminal Monetary Penalties
                                                                                                                         Judgment - Page   -~7~_   of   8
 DEFENDANT: JEREMY WADE
 CASE NUMBER: 4:18CR00374-001 BSM
                                                               CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                                        Assessment                 JVT A Assessment*                 Fine                      Restitution
 TOTALS                               $ 100.00                   $ 0.00                            $ 0.00                    $ 0.00



 D The determination of restitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

 D        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
          before the United States is paid.

 Name of Payee
~~~~:~T3/·~4~:.:~:·'.·:, ..
/.J+J~t,1,:2):~D ~·~\(/:·,.) ::.·,.




 TOTALS                                               $                         0.00           $                         0.00
                                                                                                   ----------


 D          Restitution amount ordered pursuant to plea agreement $

 D          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
            fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
            to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            D the interest requirement is waived for the                       D fine      D restitution.
            D        the interest requirement for the               D fine      •      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments

                                                                                                         Judgment - Page   _8~_ of            8
DEFENDANT: JEREMY WADE
CASE NUMBER: 4:18CR00374-001 BSM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     IZl   Lump sum payment of$         100.00              due immediately, balance due

            •    not later than                                  , or
            •    in accordance with
                                        •   C,    •    D,    •    E, or     D F below; or
B     •     Payment to begin immediately (may be combined with            • c,       OD,or        D F below); or

C     D Payment in equal          _ _ _ _ _ (e.g., weekly, monthly. quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                          (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal          _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                          (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D Payment during the term of supervised release will commence within       _ _ _ _ _ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NT A assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
